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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

JOHN Z. JOHNINSON, SR., et al.                                             PLAINTIFFS

v.                         CASE NO. 4:20-CV-01074-BSM

USA, et al.                                                              DEFENDANTS

                                     JUDGMENT

      Consistent with the order entered today, this case is dismissed without prejudice.

      IT IS SO ORDERED this 5th day of November, 2020.



                                                  UNITED STATES DISTRICT JUDGE
